                Case 2:13-cv-02155-HGD Document 8 Filed 01/21/14 Page 1 of 1                              FILED
                                                                                                 2014 Jan-21 PM 04:05
                                                                                                 U.S. DISTRICT COURT
                                                                                                     N.D. OF ALABAMA


                             IN THE UNITED STATES DISTRICT COURT
                                NORTHERN DISTRICT OF ALABAMA
                                      SOUTHERN DIVISION

ALAN CAMPBELL,                                                 )
                                                               )



                       PLAINTIFF,                              )
                                                               )



V.                                                             ) CASE NO: 2:13-CV-02155-TGD
                                                               )



PROFESSIONAL ADJUSTMENT           )
CORPORATION OF S.W. FLORIDA, INC.,)
                                                               )



                       DEFENDANT.                              )
                                                               )




                                 JOINT STIPULATION OF DISMISSAL

                COME NOW the Plaintiff and the Defendant, by and through their counsel of record, and

jointly stipulate this Honorable Court may enter an Order dismissing with prejudice all claims

asserted, costs taxed as paid.

                Submitted this   I day of   ici   t-1I/L
                                                           y       2014.




S. Scott Allurns                                               Neal D. Moore, III
S. Scott Allurns, P.C.                                         Ferguson, Frost & Dodson, T1LP
506 North 18 t" Street                                         1400 Urban Center Drive, Suite 200
Bessemer, Alabama 35020                                        Birmingham, Alabama 35242
Attorney for Plaintiff,                                        Attorney for Defendant,
Alan Campbell                                                  Professional Adjustment Corp of
                                                               S. W. Florida, Inc.




{W0377535.1 }
